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				ESTRADA v. KRIZ2015 OK CIV APP 19Case Number: 112453Decided: 01/29/2015Mandate Issued: 03/02/2015DIVISION IVTHE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION IV
Cite as: 2015 OK CIV APP 19, __ P.3d __

				

PHILLIP ESTRADA, Plaintiff/Appellant,v.DENNIS KRIZ, 
HODGES TRANSPORT, MID-AMERICA PALLETT, LLC, et al., Defendants/Appellees.
APPEAL FROM THE DISTRICT COURT OFOKMULGEE COUNTY, 
OKLAHOMA
HONORABLE H. MICHAEL CLAVER, TRIAL JUDGE
REVERSED AND REMANDED FOR FURTHER PROCEEDINGS
Robert V. Seacat, SEACAT LAW, Tulsa, Oklahoma, for 
Plaintiff/AppellantKenneth L. Brune, BRUNE LAW FIRM, Tulsa, Oklahoma, for 
Defendants/Appellees
DEBORAH B. BARNES, JUDGE:
¶1 Plaintiff/Appellant Phillip Estrada (Estrada) appeals the trial court's 
Order granting the motion to dismiss of Defendants/Appellees Dennis Kriz, Hodges 
Transport, Mid-America Pallet, LLC, et al. (collectively, Defendants). 
Defendants moved for dismissal "based upon [Estrada's] failure to plead [fraud] 
with particularity, the Doctrine of Laches and the Doctrine of Equitable 
Estoppel." Based on our review, we conclude Estrada's veil-piercing theory is 
not subject to dismissal on the basis of any failure to plead fraud with 
particularity; Estrada has successfully stated a claim which would entitle him 
to relief under the Uniform Fraudulent Transfer Act, 24 O.S. 2011 §§ 112-123; 
and the equitable doctrines asserted in the motion to dismiss are inappropriate 
bases upon which to dismiss the petition. Consequently, we reverse the trial 
court's Order granting the motion to dismiss, and we remand for further 
proceedings.
BACKGROUND
¶2 Estrada filed a petition in October, 2012, alleging that in April, 2009, a 
judgment was entered in his favor "and against Port City Properties, d/b/a 
Hodges Warehouse . . . ." Estrada alleged that the judgment was entered "in the 
total amount of $127,014.17, plus statutory costs," but that in 2011, on appeal 
from that judgment, the Oklahoma Supreme Court affirmed in part and reversed in 
part, "leaving intact the judgment for actual damages . . . and reversing the 
punitive damages award," and leaving a "total remaining judgment . . . [of] 
$108,616.17," plus post-judgment interest.
¶3 Estrada asserted in his petition that, during his attempt to collect this 
judgment from Port City Properties, d/b/a Hodges Warehouse, 


Dennis Kriz testified at an asset hearing before this Court [in April, 2010,] 
that the business entity, Port City Properties, d/b/a Hodges Warehouse, no 
longer had any assets, accounts or employees, and that Hodges Warehouse was 
conducting business under the business entities, Hodges Transportation, LL[C] 
and Mid-America Pallet, LLC.
9. Mr. Kriz also testified at the asset hearing that the business of Port 
City Properties, d/b/a Hodges Warehouse, was intermingled with the business of 
Hodges Transportation, LLC.
10. That the assets and former business operations of Hodges Warehouse that 
were conducted under the business name of Port City Properties, d/b/a Hodges 
Warehouse, have been transferred either post-petition or post-judgment to other 
entities, including but not limited to Hodges Transportation, LLC, Mid-America 
Pallet, LLC and/or other entities in an effort to avoid paying [Estrada's] 
judgment.
¶4 Estrada requested that the court "pierce the corporate veil" of Port City 
Properties, and hold Dennis Kriz personally liable for the April, 2009 judgment 
"for his operating other corporate entities as the alter ego of Port City 
Properties, d/b/a Hodges Warehouse, in order to avoid the judgment."
¶5 Estrada also asserted that Dennis Kriz violated "the Uniform Fraudulent 
Transfer Act" by "caus[ing] the transfer of the assets of Port City Properties, 
d/b/a Hodges Warehouse, to other corporate entities that he controls or owns a 
majority stake in . . . with the intent and purpose to hinder, delay and/or 
defraud [Estrada] as the judgment creditor . . . ." 
¶6 In their answer, Defendants admitted that Kriz "provided testimony at an 
asset hearing," but denied "any inference or interpretation . . . to the extent 
they support [Estrada's] claims." They requested that Estrada take nothing by 
way of his petition, and they set forth various affirmative defenses.
¶7 In January, 2013, Defendants filed a motion to dismiss claiming Estrada 
failed to plead fraud with particularity, and also claiming his theories are 
barred by the doctrines of laches and equitable estoppel. Defendants argue that 
Estrada's theories of (1) "Pierc[ing] the Corporate Veil," and (2) "Violati[ng] 
. . . the Fraudulent Transfer Act," are theories of fraud and, therefore, 
Estrada was required to state with specificity "the time, place and contents of 
the fraudulent action," together with "the identity of the party making the 
fraudulent action and the consequences arising from the fraudulent conduct," in 
order to satisfy the requirements of 12 O.S. Supp. 2013 § 2009(B). 
¶8 Defendants also argue Estrada's action is barred by the doctrines of 
laches and equitable estoppel because, "[a]t a minimum, Estrada was aware that 
he intended to claim fraudulent transfer of assets as of the time of the asset 
hearing on April 28, 2010," but allegedly took "no further action to enforce his 
Judgment against Port City Properties or to assert claims against [Defendants]" 
until the filing of the petition in this case in October, 2012. 
¶9 Defendants did not attach any evidentiary materials to their motion to 
dismiss or otherwise seek to convert it to a summary judgment motion. 
Nevertheless, after Estrada filed his response and objection to the motion to 
dismiss, Defendants filed a reply in which they argue that Estrada failed to 
"dispute a single Statement of Fact as set forth in the Motion to Dismiss . . . 
." They further state that "Estrada offers NO evidence or arguments to dispute 
the facts set forth in the Motion to Dismiss . . . ." 
¶10 In its Order filed in December, 2013, the trial court granted the motion 
to dismiss without oral argument, and without setting forth the basis of its 
decision. From the Order, Estrada appeals.
STANDARD OF REVIEW
¶11 Motions to dismiss are generally viewed with disfavor, and the burden of 
demonstrating a petition's insufficiency - placed on the party moving for 
dismissal - is not a light one. Fanning v. Brown, 2004 OK 7, ¶ 4, 85 P.3d 841. When reviewing a motion to dismiss, this 
Court exercises de novo review. Wilson v. State ex rel. State Election 
Bd., 2012 OK 
2, 
¶ 4, 270 P.3d 
155.1 When reviewing a motion to dismiss, this Court examines 
only the controlling law, not the facts, and, thus, this Court must take as true 
all of the challenged pleading's allegations together with all reasonable 
inferences which may be drawn from them. Id. "A pleading must not be 
dismissed for failure to state a legally cognizable claim unless the 
allegations indicate beyond any doubt that the litigant can prove no set 
of facts which would entitle him to relief." Fanning, ¶ 4 (citation 
omitted). In addition, "interpretation of statutory law presents a question of 
law and statutes are construed to determine legislative intent in light of the 
general policy and purpose that underlie them." Troxell v. Okla. Dep't of 
Human Servs., 2013 OK 100, ¶ 4, 318 P.3d 206 (citation omitted).
ANALYSIS
I. The Requirement of Particularity
¶12 Title 12 O.S. 2011 § 
2009(B) provides that "[i]n all averments of fraud or mistake, the 
circumstances constituting fraud or mistake shall be stated with particularity. 
Malice, intent, knowledge, and other condition of mind of a person may be 
averred generally."2 The Oklahoma Supreme Court has explained that 
"allegations of fraud must be stated with sufficient particularity to enable the 
opposing party to prepare his/her responsive pleadings and defenses. 
Particularity does not mean the plaintiff has to plead detailed 
evidentiary matters." A-Plus Janitorial &amp; Carpet Cleaning v. Employers' 
Workers' Comp. Ass'n, 1997 OK 37, ¶ 35, 936 P.2d 916 (citation omitted) (footnotes omitted). 
Section 2009(B) "requires specification of the time, place and content of 
an alleged false representation, but not the circumstances or evidence from 
which fraudulent intent could be inferred." Gianfillippo v. Northland Cas. 
Co., 1993 OK 
125, ¶ 11, 861 P.2d 
308 (citation omitted).
¶13 "[T]he particularity requirement extends to all averments of fraud, 
regardless of the theory of legal duty - statutory, tort, contract or 
fiduciary." Gay v. Akin, 1988 OK 150, ¶ 8, 766 P.2d 985 (footnote omitted). For example, in 
Akin the plaintiff filed suit against members of a board of directors of 
a financial institution. She alleged they misrepresented the financial 
institution as a public banking corporation (with, inter alia, deposit 
insurance) and that, through advertisements, they lured her into depositing her 
savings at the bank. Plaintiff sought recovery for these misrepresentations 
based on theories of common-law fraud, and also based on a statutory provision 
authorizing an action for fraud and deceit upon the public. Although one of her 
theories was derived from the common law, and the other from statutory law, 
because both theories were based on fraud or contained fraud as a necessary 
element, the requirements of § 2009(B) applied to each theory.
¶14 However, an averment of fraud does not exist merely because the modifier 
"fraudulent" is used. Black's Law Dictionary (9th ed. 2009), defines fraud, in 
pertinent part, as 


[a] knowing misrepresentation of the truth or concealment of a material fact 
to induce another to act to his or her detriment. . . . 2. A 
misrepresentation made recklessly without belief in its truth to induce another 
person to act. 3. A tort arising from a knowing misrepresentation, 
concealment of material fact, or reckless misrepresentation made to induce 
another to act to his or her detriment.
In Oklahoma, 


[t]he elements of fraud are: 1) a false material misrepresentation, 2) made 
as a positive assertion which is either known to be false or is made recklessly 
without knowledge of the truth, 3) with the intention that it be acted upon, and 
4) which is relied on by the other party to his or her own 
detriment.
Lopez v. Rollins, 2013 OK CIV APP 43, ¶ 12, 303 P.3d 911 (citation omitted). 
¶15 Accordingly, an averment of fraud only exists where there is some "false 
suggestion or suppression of the truth" - some false representation - by which 
one "can get advantage over another," Croslin v. Enerlex, Inc., 
2013 OK 34, ¶ 11, 308 P.3d 1041, made with the intention that it be acted 
upon. More exactly, fraud is "a generic term" that "is divided into actual fraud 
and constructive fraud." Patel v. OMH Med. Ctr., Inc., 1999 OK 33, ¶ 34, 987 P.2d 1185 (footnotes omitted). "To be actionable, 
both actual fraud and constructive fraud require detrimental reliance by the 
person complaining," Howell v. Texaco Inc., 2004 OK 92, ¶ 32, 112 P.3d 1154 (citation omitted), and even constructive 
fraud - although it "does not necessarily involve any moral guilt, intent to 
deceive, or actual dishonesty of purpose" - requires a misrepresentation 
(although the misrepresentation may consist of remaining silent when one has the 
duty to speak) that "gains an advantage for the actor by misleading another to 
his prejudice," Patel, ¶ 34 (footnote omitted).3 
A. Piercing the Corporate Veil
¶16 Estrada seeks to pierce the corporate veil based on allegations that, 
inter alia, Dennis Kriz operated other corporate entities as the alter ego of 
Port City Properties, d/b/a Hodges Warehouse, in order to avoid the judgment. 
The particularity requirement does not apply to a theory seeking to pierce the 
corporate veil unless it rests on an averment of fraud (or mistake). In 
Fanning, 2004 OK 
7, 
the plaintiff asserted a theory seeking to pierce the corporate veil and hold 
the shareholders of a corporate entity individually liable for the obligations 
and conduct of that entity. The plaintiff alleged 


the shareholders used the corporate entity to defeat the public policy of 
protecting a resident [of a nursing home] from neglect and abuse, that they 
failed to secure and maintain liability insurance, and that they allowed [the 
corporate entity] to become suspended from doing business within the state. She 
also argued that the public policy of protecting elderly residents is a 
compelling or overriding reason to disregard the corporate entity and pierce the 
corporate veil.
Id. ¶ 17.
¶17 The Fanning Court first explained as follows:


Generally, a corporation is regarded as a legal entity, separate and distinct 
from the individuals comprising it. However, the notion of a corporation's legal 
entity, apart from the persons composing it, is introduced for convenience and 
to serve the ends of justice. Accordingly, Oklahoma has long recognized the 
doctrine of disregarding the corporate entity in certain circumstances. Courts 
may disregard the corporate entity and hold stockholders personally liable for 
corporate obligations or corporate conduct under the legal doctrines of fraud, 
alter ego and when necessary to protect the rights of third persons and 
accomplish justice. . . . Frazier v. Bryan Memorial Hosp. Authority, 
1989 OK 73, ¶ 16, 775 P.2d 281, 288 (if one corporation is simply the 
instrumentality of another corporation, the separation between the two may be 
disregarded and treated as one).
Id. ¶ 16 (citations omitted). The Fanning Court then stated that, 
"[s]ince this case does not involve fraud or mistake, [the plaintiff] was 
only required to set forth a short and plain statement of her claims so 
that the defendants would have fair notice of what [the plaintiff's] claims were 
and the grounds upon which they rest." Id. ¶ 21 (emphasis added).
¶18 As quoted above, the Fanning Court specifically listed "the legal 
doctrines of fraud [and] alter ego" as distinct theories. As stated by a 
separate division of this Court, "[a]lthough several cases have discussed fraud 
as a potential basis for ignoring formal corporate identity, it is not necessary 
for fraudulent intent to be present for the alter ego theory to be applied to 
pierce the corporate veil." Pennmark Res. Co. v. Okla. Corp. Comm'n, 
2000 OK CIV APP 63, ¶ 17, 6 P.3d 1076 (citations omitted). 
¶19 A brief review of federal jurisprudence is also instructive in this 
regard.4 "The tendency under the Federal Rules is to discourage 
motions to compel more definite complaints and to encourage the use of discovery 
procedures to apprise the parties of the basis for the claims made in the 
pleadings" - the "requirement of particularized pleading" set forth in Rule 9(b) 
"is reserved for averments of fraud or mistake." In re O.P.M. Leasing Servs., 
Inc., 21 B.R. 986, 993 (Bankr. S.D.N.Y. 1982). In In re Suprema 
Specialties, Inc. Securities Litigation, 438 F.3d 256 (3d Cir. 2006), the 
United States Court of Appeals for the Third Circuit stated that, as to 
averments of fraud, 


Rule 9(b) requires a plaintiff to plead (1) a specific false representation 
of material fact; (2) knowledge by the person who made it of its falsity; (3) 
ignorance of its falsity by the person to whom it was made; (4) the intention 
that it should be acted upon; and (5) that the plaintiff acted upon it to his 
[or her] damage. 
Id. at 270. The Suprema Specialties Court indicated that a 
determination of whether a theory is subject to the particularity requirement 
necessitates an assessment of the theory to determine whether acts of fraud on 
the part of the defendants form the basis for the theory against them. 
Id. (The Suprema Specialties Court stated that whether the 
"Securities Act claim" at issue "is subject to Rule 9(b) requires an assessment 
of the particular claim to determine whether acts of fraud on the part of the 
defendants form the basis for the claim against them."). That is, Rule 9(b) is 
applicable only "where the gravamen of the claim is fraud," such as where the 
theory is one of negligent misrepresentation, a "close cousin" of fraud. 
Baltimore Cnty. v. Cigna Healthcare, 238 F. App'x 914, 925 (4th Cir. 
2007) (citation omitted). See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 
1097, 1105-06 (9th Cir. 2003) (theories that are not "grounded in fraud," or for 
which fraud "is not an essential element," are not subject to the heightened 
pleading requirement of Rule 9(b)). 
¶20 Accordingly, the particularity requirement does not apply to alter ego 
and other veil-piercing theories unless fraud (or mistake) is a necessary 
element. See Rolls-Royce Motor Cars, Inc. v. Schudroff, 929 F. Supp. 117, 
122 (S.D.N.Y. 1996) ("[B]ecause a veil piercing claimant can prevail without 
proving fraud, plaintiff's alter ego allegations will not be held to the 
particularity requirement of Fed.R.Civ.P. 9(b)."); Chicago Dist. Council of 
Carpenters Pension Fund v. Ceiling Wall Sys., Inc., 915 F. Supp. 939, 942-43 
(N.D. Ill. 1996) ("[B]ecause fraud is not a prerequisite to piercing the 
corporate veil, Rule 9(b) does not apply to alter ego allegations."); 
Laborers Combined Funds of Western Pa. v. Ruscitto, 848 F.Supp. 598, 
600-01 (W.D. Pa. 1994) (Rule 8(a), which requires a short and plain statement of 
the claim, applies to alter ego allegations "unless fraud is a necessary element 
of the claim.") (footnote omitted) (citations omitted). Unless Estrada has made 
fraud a basis or essential element of his veil-piercing theory, the 
particularity requirement does not apply.
¶21 Moreover, in Fanning, the Court went on to state that even if the 
allegations in the petition were not sufficient to withstand a motion to 
dismiss, "the trial court still erred in dismissing the case without providing 
[the plaintiff] with an opportunity to amend her complaint." 2004 OK 7, ¶ 23. The Court stated that, pursuant to 
12 O.S. 2011 § 2012(G), "a mandatory 
duty [is] placed on trial courts" to grant leave to amend if the defect can 
be remedied. Id. (emphasis added).


In order for the courts to dismiss a claim for failure to state a cause of 
action without giving the plaintiff the opportunity to amend, it must appear 
that the claim does not exist rather than the claim has been defectively stated. 
See Lockhart v. Loosen, 1997 OK 103, ¶ 5, 943 P.2d 1074, 1078 (which draws a distinction between a 
petition that is dismissible for want of a cognizable legal theory of liability 
and one that is dismissible for insufficient facts under a recognized 
theory).
Fanning, ¶ 23.5 
¶22 As was the case in Fanning, the Order on appeal in this case 
merely provides that "Defendant's Motion [to Dismiss] should be and is hereby 
GRANTED," and it does not provide Estrada with leave to amend. In this regard 
the Fanning Court stated, "If the trial court was of the opinion that the 
claim was defectively pled, it should have provided [the plaintiff] with an 
opportunity to amend. Accordingly, the trial court erred in dismissing [the 
plaintiff's] petition." Id. ¶ 24.
¶23 Even more important to this case, "[f]ailure to plead fraud with 
specificity is not a ground for dismissal." Muller v. Muller, 
2013 OK CIV APP 90, ¶ 10, 311 P.3d 1247 (citation omitted). See 
A-Plus, 1997 OK 
37, ¶ 36. In A-Plus, the Oklahoma Supreme Court stated that "[t]he 
method for securing the missing information" - i.e., in circumstances in which 
allegations of fraud are made but are not stated with sufficient particularity 
to enable the opposing party to prepare his/her responsive pleadings and 
defenses - "is not by pressing for dismissal but rather by a motion to supply 
the necessary particulars that would support the allegations of fraud." 
Id. ¶ 36. In A-Plus, the Court concluded that 


[b]ecause the record is devoid of any denied quest for particulars, the 
defendants are not entitled to have the petition tested by the Gay v. 
Akin [i.e., particularity] rule. Applying the Conley v. Gibson 
standards,6 we find that the petition, even if wanting in some 
particularity, is not subject to dismissal. The defendants are entitled to a 
post-remand opportunity to press for specific information.
A-Plus, ¶ 36 (emphasis omitted).
¶24 Estrada's veil-piercing theory is not subject to dismissal on the basis 
of failure to plead fraud with specificity, and the trial court erred in 
dismissing this theory.
B. Fraudulent Transfer
¶25 Estrada has asserted a theory under the Uniform Fraudulent Transfer Act 
(UFTA), 24 O.S. 2011 §§ 112-123, based on allegations that Estrada obtained a 
judgment against an entity whose assets were transferred by Dennis Kriz to avoid 
payment. "The purpose of the [UFTA] is to allow a creditor the opportunity to 
invalidate the transfer of assets made by a debtor if the transfer has the 
effect of placing assets out of reach of present and future creditors." 
Burrows v. Burrows, 1994 OK 129, ¶ 9, 886 P.2d 984 (footnote omitted). Estrada states in his 
petition that Dennis Kriz violated "the [UFTA]" by "caus[ing] the transfer of 
the assets of Port City Properties, d/b/a Hodges Warehouse, to other corporate 
entities that he controls or owns a majority stake in . . . with the intent and 
purpose to hinder, delay and/or defraud [Estrada] as the judgment creditor . . . 
." This allegation is practically in the language of the UFTA. See 
24 O.S. 2011 § 116. See also Combs v. 
Chambers, 283 F. Supp. 295, 296 (N.D. Okla. 1968) ("The [complaint] states 
that the properties . . . were conveyed by the Defendant . . . with intent to 
hinder, delay, and defraud the Plaintiff as one of his creditors. This 
allegation is practically in the language of Oklahoma's Uniform Fraudulent 
Conveyance Act. . . . The [c]omplaint states a claim for relief, and that claim 
as stated is recognized by Oklahoma law.") (citation omitted) (footnote 
omitted). We conclude Estrada has successfully stated a claim which would 
entitle him to relief under the UFTA, and the trial court erred in dismissing 
this theory.
II. Equitable Defenses of Laches and Equitable Estoppel
¶26 As stated above, Defendants argue Estrada's action is barred by the 
doctrines of laches and equitable estoppel. "Estoppel and the equitable defense 
of laches each share the elements of delay [in bringing a lawsuit] and resulting 
prejudice to the other party. Equitable estoppel as well as laches must be 
determined by the circumstances in each case and according to right and 
justice." Sullivan v. Buckhorn Ranch P'ship, 2005 OK 41, ¶ 33, 119 P.3d 192 (footnotes omitted). At this stage of the 
proceedings, both doctrines are inappropriate grounds for the dismissal of 
Estrada's petition. Just as was the trial court below, in our review of this 
appeal we are charged with reviewing the petition, and with taking as true all 
of its allegations, together with all reasonable inferences which may be drawn 
from them. We are not charged with reviewing the unsupported factual allegations 
contained in Defendants' motion to dismiss. Estrada asserts in the petition that 
it obtained a judgment against Port City Properties, d/b/a Hodges Warehouse, in 
2009; that it held an asset hearing in 2010; and that the Supreme Court affirmed 
in part and reversed in part the judgment in 2011. In 2012, Estrada brought this 
action against Defendants based, in part, on the allegation that Port City "no 
longer ha[s] any assets, accounts or employees . . . ." We conclude no 
reasonable inference can be drawn at this time, and from the content of the 
petition alone, that an inexcusable delay has occurred resulting in prejudice to 
Defendants such that right and justice require the dismissal of the petition 
based on the equitable doctrines forwarded by Defendants.
CONCLUSION
¶27 Defendants filed a motion to dismiss "based upon [Estrada's] failure to 
plead [fraud] with particularity, the Doctrine of Laches and the Doctrine of 
Equitable Estoppel." Estrada's veil-piercing theory is not subject to dismissal 
on the basis of any failure to plead fraud with particularity. As to Estrada's 
theory asserted under the UFTA, based on allegations that Estrada obtained a 
judgment against an entity whose assets were transferred to avoid payment, this 
allegation is practically in the language of the UFTA and we conclude Estrada 
has successfully stated a claim which would entitle him to relief under the 
UFTA. Finally, the equitable doctrines asserted in the motion to dismiss are 
inappropriate bases upon which to dismiss the petition because no reasonable 
inference can be drawn at this time, and from the content of the petition alone, 
that an inexcusable delay has occurred resulting in prejudice to Defendants such 
that right and justice require dismissal. Consequently, we reverse the trial 
court's Order granting the motion to dismiss, and we remand for further 
proceedings.
¶28 REVERSED AND REMANDED FOR FURTHER PROCEEDINGS.
RAPP, P.J., and THORNBRUGH, J., concur.
FOOTNOTES
1 Although we do not know 
the precise basis of the trial court's decision, we note that the Oklahoma 
Supreme Court, in Gay v. Akin, 1988 OK 150, ¶ 6 n.13, 766 P.2d 985, stated that a dismissal based upon 
"failure to plead fraud with sufficient particularity, as required by . . . § 
2009(B), is treated as a dismissal for failure to state a claim." Appellate 
courts also review de novo a district court's dismissal for failure to 
state a claim. Miller v. Miller, 1998 OK 24, ¶ 15, 956 P.2d 887. 
2 We note that the Comprehensive Lawsuit Reform Act of 
2009 - of which 12 O.S. 2011 § 
2009(B) (i.e., as amended in 2009 and effective November 1, 2009) was a part 
- was held unconstitutional in its entirety in Douglas v. Cox Retirement 
Properties, Inc., 2013 OK 37, 302 P.3d 789. However, Douglas was decided after 
the filing of the petition in this case, and, in addition, the exact language 
contained in 12 O.S. 2011 § 
2009(B) was reenacted in September, 2013, and is found in 12 O.S. Supp. 2014 § 2009. 
3 We note that the particularity requirement may not 
apply in the same manner or degree to averments of constructive fraud. See 
Union Nat. Bank of Little Rock v. Farmers Bank, Hamburg, Ark., 786 F.2d 881, 
886 n.6 (8th Cir. 1986) ("[T]he degree of particularization required for a 
complaint alleging active fraud may be totally inappropriate in an action 
involving constructive fraud.") (citation omitted). See also DLJ Mortgage 
Capital, Inc. v. Kontogiannis, 594 F. SupP.2d 308, 330 (E.D.N.Y. 2009) 
("Neither of these constructive fraud theories need be pleaded with 
particularity to survive a motion to dismiss."). 
4 In Akin, the Oklahoma Supreme Court stated:
In construing the Oklahoma Pleading Code's provisions which govern fraud 
allegations, and in determining the detail necessary to satisfy the 
"particularity" requirement, we are obliged to look to the Federal Rules of 
Civil Procedure - the progenitor of our pleading code. Since the text of Federal 
Rule 9(b) is incorporated verbatim in the Oklahoma pleading code, federal and 
state jurisprudence is instructive.
1988 OK 150, ¶ 8 (footnote omitted). 

5 This requirement is consistent with federal 
jurisprudence. For example, 
Where a pleading does not satisfy the heightened requirements of Rule 9(b), 
the court should freely grant leave to amend. See Firestone [v. 
Firestone], 76 F.3d [1205, 1209 (D.C. Cir. 1996)] (recognizing that 
courts almost always grant leave to amend to cure deficiencies in pleading 
fraud). Accordingly, the court should reserve dismissal with prejudice for 
extreme situations where the pleader has had the opportunity to cure any 
deficiencies but either has not or cannot do so.
McQueen v. Woodstream Corp., 244 F.R.D. 26, 34 (D.D.C. 2007) (citation 
omitted) (internal quotation marks omitted). 
6 "[A] complaint should not be dismissed for failure to 
state a claim unless it appears beyond doubt that the plaintiff can prove no set 
of facts in support of his claim which would entitle him to relief." Conley 
v. Gibson, 355 U.S. 41, 45-46 (1957) (footnote 
omitted).




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Civil Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2013 OK CIV APP 43, 303 P.3d 911, LOPEZ v. ROLLINSDiscussed
&nbsp;2013 OK CIV APP 90, 311 P.3d 1247, MULLER v. MULLERDiscussed
&nbsp;2000 OK CIV APP 63, 6 P.3d 1076, 71 OBJ        1639, PENNMARK RESOURCES CO. v. OKLAHOMA CORP. COMM'NDiscussed
Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1988 OK 150, 766 P.2d 985, 59 OBJ        3601, Gay v. AkinDiscussed at Length
&nbsp;1989 OK 73, 775 P.2d 281, 60 OBJ        1202, Frazier v. Bryan Memorial Hosp. AuthorityDiscussed
&nbsp;1993 OK 125, 861 P.2d 308, 64 OBJ        2971, Gianfillippo v. Northland Cas. Co.Discussed
&nbsp;1994 OK 129, 886 P.2d 984, 65 OBJ        3967, Burrows v. BurrowsDiscussed
&nbsp;1997 OK 37, 936 P.2d 916, 68 OBJ        1266, A-Plus Janitorial &amp; Carpet Cleaning v. Employers' Workers' Compensation Assoc.Discussed at Length
&nbsp;1997 OK 103, 943 P.2d 1074, 68 OBJ        2550, LOCKHART v. LOOSENDiscussed
&nbsp;2004 OK 7, 85 P.3d 841, FANNING v. BROWNDiscussed at Length
&nbsp;2004 OK 92, 112 P.3d 1154, HOWELL v. TEXACO, INC.Discussed
&nbsp;2005 OK 41, 119 P.3d 192, SULLIVAN v. BUCKHORN RANCH PARTNERSHIPDiscussed
&nbsp;2012 OK 2, 270 P.3d 155, WILSON v. STATE ex rel. STATE ELECTION BOARDDiscussed
&nbsp;2013 OK 34, 308 P.3d 1041, CROSLIN v. ENERLEX, INC.Discussed
&nbsp;2013 OK 37, 302 P.3d 789, DOUGLAS v. COX RETIREMENT PROPERTIES, INC.Discussed
&nbsp;2013 OK 100, 318 P.3d 206, TROXELL v. OKLAHOMA DEPT. OF HUMAN SERVICESDiscussed
&nbsp;1998 OK 24, 956 P.2d 887, 69 OBJ        1172, MILLER v. MILLERDiscussed
&nbsp;1999 OK 33, 987 P.2d 1185, 70 OBJ        1353, Patel v. OMH Medical Center, Inc.Discussed
Title 12. Civil Procedure
&nbsp;CiteNameLevel

&nbsp;12 O.S. 2009, Pleading Special MattersDiscussed at Length
&nbsp;12 O.S. 2012, Defenses and Objections - When and How Presented - By Pleading or MotionCited
Title 24. Debtor and Creditor
&nbsp;CiteNameLevel

&nbsp;24 O.S. 116, Fraudulent Transfers to Creditors - Actual IntentCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
